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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MICHAEL ANTHONY, individually, and on               Case No.: 21-cv-02509
behalf of all others similarly situated,
                                                    Hon. Edmond E. Chang
                Plaintiff,
        v.
THE FEDERAL SAVINGS BANK, an
Illinois Federal Savings Association,
NATIONAL BANCORP HOLDINGS, INC.,
a Delaware corporation, and FDE
MARKETING GROUP, LLC, a Florida
limited liability company,
                Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Order of January 25, 2022, Plaintiff Michael Anthony and

Defendants The Federal Savings Bank, National Bancorp Holdings, Inc., and FDE Marketing

Group, LLC (the “Parties”) file this Joint Status Report.

1.     The Nature of the Case

       a.      Attorneys for Plaintiff:

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       b.     The Court has subject matter jurisdiction under 28 U.S.C. § 1331, as the action

arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

       c.     Plaintiff Michael Anthony (“Plaintiff”) brings this TCPA class action against

Defendants The Federal Savings Bank (“FSB”), National Bancorp Holdings, Inc. (“NBH”), and

FDE Marketing Group, LLC (“FDE”) (collectively, “Defendants”) to enjoin their unlawful

practice of making telemarketing phone calls to residential phone numbers registered on the


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National Do Not Call Registry without their permission, and to obtain redress, including actual,

statutory, and enhanced damages, for all persons injured by Defendants’ unlawful conduct under

47 U.S.C. § 227(c); 47 C.F.R. § 64.1200, et seq. FSB and NBH deny all liability and state that they

did not make the alleged telephone call(s) directed to Plaintiff, nor to any other putative Class

members.

       FDE denies all liability.

       In its answer to the original Complaint, FSB asserted a counterclaim for fraud against

Plaintiff. Plaintiff filed a motion to dismiss FSB’s counterclaim (Dkt. 19), which is fully briefed.

Plaintiff also filed a motion for sanctions against FSB and its counsel for filing a frivolous

counterclaim (Dkt. 22), which is fully briefed. In its answer to the First Amended Complaint, FSB

withdrew its counterclaim.

       d.      The major factual and legal issues are:

                      Whether Defendants violated the TCPA;

                      Whether the calls were made by or on behalf of Defendants;

                      Whether the calls promoted or advertised Defendants’ products and
                       services;

                      Whether Defendants obtained prior express written consent to make the
                       calls;

                      Whether members of the Class are entitled to damages based on
                       Defendants’ violations of the TCPA, and whether they are entitled to
                       enhanced damages under the TCPA for Defendants’ knowing and/or willful
                       violation of the TCPA;

                      Whether members of the Class are entitled in injunctive relief and other
                       equitable relief, as appropriate;

                      Whether Defendants placed the telephone call(s) at issue in the First
                       Amended Complaint;



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                      Whether Plaintiff provided consent to receive the alleged telephone call(s)
                       at issue in the First Amended Complaint;

                      Whether FSB and NBH can be held liable for the marketing and lead
                       generation efforts of FDE.

          e.    The relief sought by the Plaintiff: Plaintiff seeks to enjoin Defendants’ unlawful

practice of making telemarketing phone calls to residential phone numbers registered on the

National Do Not Call Registry without their permission, and to obtain redress, including actual,

statutory, and enhanced damages, for all persons injured by Defendants’ conduct under 47 U.S.C.

§ 227(c); 47 C.F.R. § 64.1200, et seq. FSB seeks an award of actual and punitive damages against

Plaintiff for common law fraud and such other relief, at law and equity, as this Court may find

just.

2.        Pending Motions and Case Plan

          a.    All Defendants have been served with the summons and First Amended Complaint.

NBH was served with the original Complaint on May 11, 2021. FSB was served with the original

Complaint on May 20, 2021. On July 2, 2021, Defendants filed an answer to the Complaint and

asserted affirmative defenses. As set forth above, in its answer to the original Complaint, FSB

asserted a counterclaim for common law fraud against Plaintiff. FSB and NBH filed their answer

and affirmative defenses to the First Amended Complaint on February 3, 2022. It is Plaintiff’s

position that FSB withdrew its counterclaim. FSB disagrees with Plaintiff’s position.

          FDE was served a summons and the First Amended Complaint on January 28, 2022. FDE

obtained an extension to March 11, 2022, to answer or otherwise respond to the First Amended

Complaint.

          b.    Plaintiff’s motion for sanctions and Plaintiff’s motion to dismiss the counterclaim

are currently pending. It is Plaintiff’s position that because FSB did not reassert its counterclaim


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in its answer to the First Amended Complaint renders the counterclaim abandoned and, as a result,

Plaintiff’s motion to dismiss the counterclaim is now moot. See, e.g., Stone Tech. (HK) Co., Ltd.

v. GlobalGeeks, Inc., 20-CV-23251, 2021 WL 86776, at *4 (S.D. Fla. Jan. 11, 2021) (“because an

amended pleading supersedes the original pleading, where a defendant fails to reallege its

previously asserted counterclaim in its amended pleading, the counterclaim is deemed to have been

abandoned”). Again, FSB disagrees with Plaintiff’s position. It is FSB’s position that its

counterclaim is still pending before the Court. See, e.g., Ground Zero Museum Workshop v.

Wilson, 813 F. Supp. 2d 678, 706 (D. Md. 2011) (“Rule 13, which governs counterclaims, requires

only that a counterclaim be set forth in a pleading-it does not mandate that it be contained in an

answer… Further, an answer responds to the allegations in a complaint, a counterclaim is

something independent. Revisions to a complaint do not require revisions to a counterclaim”).

       c.       Plaintiff’s motion for sanctions is still pending. Plaintiff continues to seek sanctions

under Fed. R. Civ. P. Rule 11 and 28 U.S.C. § 1927, for the reasons stated in the motion. If the

Court determines that FSB did not withdraw its counterclaim, then Plaintiff’s motion to dismiss

the counterclaim is still pending and is not moot.

       d.       Discovery plan:

              i.       The general type of discovery needed. Plaintiff anticipates discovery is

needed on the following topics and areas: the list of persons called by or on behalf of Defendants;

the logs and records of all telemarketing telephone calls placed by Defendants or placed on

Defendants’ behalf; the equipment and systems used by Defendants and Defendants’ callers to

place the telephone calls; the identities of all of Defendants’ callers, and the relationships of

Defendants’ callers with Defendants; whether there is the requisite consent to place the calls at

issue in the litigation; Defendants’ business and telemarketing practices and procedures; and third


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party discovery from Defendants’ callers. Defendants anticipate taking discovery in support of

FSB’s counterclaim and in connection with the information collected by FDE with respect to the

information provided on the www.lowermyinterestrate.com website in January 2021.

             ii.          Plaintiff, FSB, and NBH exchanged Rule 26(a)(1) initial disclosures by July

28, 2021. Plaintiff and FDE will exchange initial disclosures by March 9, 2022.

             iii.         Discovery on and from FDE would begin on March 9, 2022.

             iv.          The Parties propose that Plaintiff’s Motion for Class Certification and

expert disclosure deadline be October 26, 2022.

              v.          The Parties propose that Defendants’ response to Plaintiff’s Motion for

Class Certification and Defendants’ expert disclosure would be due by November 25, 2022.

             vi.          The Parties propose that Plaintiff’s reply and expert rebuttal reports would

be due by December 9, 2022.

            vii.          The Parties request that a date for the filing of dispositive motions and the

close of fact discovery be set after the Court’s decision on Plaintiff’s Motion for Class

Certification.

       e.          A jury trial is requested. The Parties preliminarily estimate that the trial will take

5-7 days.

       f.          The Parties agree to service of pleadings and other papers by electronic means

under Federal Rule of Civil Procedure 5(b)(2)(E).

3.     Consent to Proceed Before a Magistrate Judge

       The parties do not unanimously consent to proceed before the Magistrate Judge.




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4.     Status of Settlement Discussions

       The Parties state that no settlement discussions have taken place. The Parties do not believe

that discussion of settlement or a settlement conference is warranted at this time, as Plaintiff needs

discovery on the size and scope of the Class.



 Michael Anthony, individually, and on behalf         The Federal Savings Bank and National
 of all others similarly situated,                    Bancorp Holdings, Inc.,


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